Case 4:21-cv-00033-ALM Document 16-3 Filed 04/12/21 Page 1 of 2 PageID #: 581




EXHIBIT B
Case 4:21-cv-00033-ALM Document 16-3 Filed 04/12/21 Page 2 of 2 PageID #: 582



From: Brand, Benjamin <Benjamin.Brand@unt.edu>
Sent: Tuesday, March 23, 2021 4:22 PM
To: Brand, Benjamin <Benjamin.Brand@unt.edu>
Cc: Richmond, John <John.Richmond@unt.edu>; Langlinais, Camille <Camille.Langlinais@unt.edu>
Subject: [MHTE] JSS Update 03.23.21


Dear Colleagues,

I write to update you on the search for an editor-in-chief of the Journal of Schenkerian Studies. Dean
Richmond has, in consultation with me, appointed the following individuals to the search committee:

         Dr. Ellen Bakulina, Assistant Professor of Music Theory
         Mr. Ron Chrisman, Director, UNT Press
         Dr. Graham Hunt, Professor of Music Theory, UT Arlington
         Dr. John Ishiyama, University Distinguished Research Professor of Political Science
         Dr. Jessica Nápoles, Associate Professor of Choral Music Education

Collectively these members bring a wealth of expertise in Schenkerian analysis and in academic publishing
more broadly. Dr. Ishiyama is former editor-in-chief of American Political Science Review. Dr. Nápoles
serves on the editorial boards of the Journal of Research in Music Education and the International Journal of
Research in Choral Singing. Dr. Bakulina and Dr. Hunt are both specialists in Schenkerian analysis who
served on the editorial board of the JSS. Mr. Chrisman held positions at Syracuse University Press and
University of Oklahoma before becoming Director of UNT Press in 2000.

Dr. Nápoles has graciously agreed lead the committee as its chair. I thank all five members for their
willingness to serve!

Sincerely,
Benjamin

Benjamin Brand, Ph.D.
Pronouns: he, him, his | Professor of Music History
Chair, Division of Music History, Theory, and Ethnomusicology
College of Music | University of North Texas | (940) 536-3561
